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                          UNITED STATES DISTRICT COURT
                          NORTHERN DISTRICT OF INDIANA
                               HAMMOND DIVISION


 UNITED STATES OF AMERICA                   )
                                            )
        v.                                  )      2:12-cr-00175-PPS-APR
                                            )
 ADRIAN TARTAREANU and                      )
 DANIELA TARTAREANU                         )

                                  OPINION AND ORDER

        Adrian Tartareanu and Daniela Tartareanu are charged with conspiracy to

 commit wire fraud under 18 U.S.C. § 1349 and sixteen counts of wire fraud under 18

 U.S.C. § 1343. (Docket Entry 1.) This case is set for trial on October 20, 2014. In

 preparation, the government has filed various notices regarding evidence it intends to

 present. Among these are two notices about 404(b) evidence, or evidence of “other acts”

 uncharged as crimes in this case that somehow bear on the issue of guilt or innocence of

 the crimes actually charged. (DE 89 and 102.) The government acknowledges that the

 first notice is now irrelevant because it related only to other acts of a Minas Litos, a third

 defendant, who has pleaded guilty since the government filed the notice. (See DE 92,

 Joint Proposed Jury Instruction 15; discussed at hearing on October 14, 2014.) Counsel

 for Adrian Tartareanu and Daniela Tartareanu now argues in a barebones response to

 the second 404(b) notice that it, too, “applies only to Minas Litos,” and “barely, if at all,

 involves either of the Tartareanus.” (DE 125, 126.1)

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          The same motion is filed twice, once for each defendant. Each motion is titled
 titled “Motion for Leave to File Response to Government’s Second Notice of Intent to
 Use Rule 404(b) Evidence.” Leave was necessary because the responses were filed after
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        The government’s second 404(b) notice regards the expected testimony of Sheila

 Chandler, a former mortgage broker who will testify that she was called in to help

 perpetrate the mortgage fraud scheme alleged in this case. (DE 102.) It is true that the

 notice indicates that most of Chandler’s contact was with Litos. But the government

 states that Chandler will testify that Daniela Tartareanu was a participant in the

 meeting at which Litos gave Chandler her assignment to get loans approved for buyers

 with bad credit scores who had been rejected for loans previously. (DE 102 at 2.) The

 government’s notice starts out with a footnote that says Chandler’s testimony isn’t

 actually 404(b) evidence, but the expected testimony was noticed under 404(b) just in

 case. That is, the acts Chandler will testify about were done in furtherance of the

 conspiracy charged in this case, and so are not “other acts” the admissibility of which is

 subject to Federal Rule of Evidence 404(b).

        I agree with the government that the evidence described in the second 404(b)

 notice isn’t actually 404(b) evidence. Instead, it is evidence that is directly relevant

 under Rule 401 to the conspiracy charged in Count One of the indictment. The fact that

 Chandler’s proposed testimony doesn’t mention much direct contact with the two

 remaining defendants is neither here nor there. The defendants are charged with

 participating in a conspiracy to commit wire fraud, which means the government must

 prove they “agreed to participate in a scheme to defraud in which it was reasonably

 foreseeable that an interstate wire facility would be used in furtherance of the scheme.”


 the deadline I set. Leave to file Docket Entries 125 and 126 is granted.

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 United States v. Soteras, 770 F.2d 641, 645 (7th Cir. 1985). Evidence relevant to the

 agreement, the existence of a scheme to defraud, or the use of interstate wires is

 therefore all relevant to the conspiracy charge, even if that evidence doesn’t relate

 specifically to the actions of the remaining defendants. According to the government’s

 theory of the case, Chandler was a co-conspirator in the scheme perpetrated by Litos

 and Adrian Tartareanu and Daniela Tartareanu. The fact that most of Chandler’s

 contact concerning the scheme was primarily with Litos does not bear on the relevance

 of the evidence to the existence of the charged scheme or acts in furtherance of it. The

 remaining defendants are responsible for the acts of their co-conspirators in furtherance

 of the scheme, even if they didn’t participate in or direct those particular acts. See, e.g.,

 United States v. Jackson, 546 F.3d 801, 815 (7th Cir. 2008) (“co-schemers are jointly

 responsible for one another’s acts in furtherance of the scheme”2). Furthermore,

 evidence of Chandler’s out-of-court statements in furtherance of the conspiracy are

 admissible as co-conspirator hearsay. See Fed. R. Evid. 801(d)(2)(E) (an exception for a

 statement offered against an opposing party that “was made by the party’s

 coconspirator during and in furtherance of the conspiracy”).

        To reiterate, my reading of the description of Chandler’s expected testimony is

 that it all relates to acts done in furtherance of the scheme at issue in this case. That


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         Jackson involved mail fraud, but “[b]ecause the requisite elements of the wire
 fraud statute, 18 U.S.C. § 1343, and the mail fraud statute, 18 U.S.C. § 1341, are virtually
 identical, cases construing the mail fraud statute are equally applicable to the wire
 fraud statute.” United States v. Soteras, 770 F.2d 641, 645 n.5 (7th Cir. 1985) (citations
 omitted).

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 evidence is germane to the conspiracy with which Adrian Tartareanu and Daniela

 Tartareanu are charged, so it doesn’t fall under “other acts” at all. The defendants’

 objection to the evidence on the ground that it addresses “other acts” of someone other

 than them, and the implied argument that it is therefore irrelevant and prejudicial, is

 moot because Chandler’s expected testimony doesn’t address “other acts” at all.

        To be clear, under this Order Chandler will only be permitted to testify about

 things she may have done in furtherance of, and relevant to, the charged conspiracy.

 But if the government wants to offer testimony beyond that scope, it must approach the

 bench before attempting to do so.

        THEREFORE leave to file Docket Entries 125 and 126 is GRANTED. The

 substance of those documents, specifically the defendants’ objection to the

 government’s use of the evidence described in DE 102 and implied request to preclude

 that evidence, is DENIED, subject to further decisions as appropriate during trial as the

 parties seek to enter evidence.

        SO ORDERED.

        ENTERED: October 17, 2014

                                           /s/ Philip P. Simon
                                           PHILIP P. SIMON, CHIEF JUDGE
                                           UNITED STATES DISTRICT COURT




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